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                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                      *CRIMINAL NO. 6:15-0080-01

 VERSUS                                        *JUDGE WALTER

 SHAWN GORDON                                  *MAGISTRATE JUDGE HANNA


                 REPORT AND RECOMMENDATION
                     ON FELONY GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written

 and oral consent of the defendant, this matter has been referred by the District Court

 for administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules

 of Criminal Procedure.

       This cause came before the undersigned United States Magistrate Judge for a

 change-of-plea hearing and allocution of the defendant, Shawn Gordon, on January

 20, 2017. The defendant was present with his counsel Wayne J. Blanchard.

       After the hearing and for the reasons orally assigned, the undersigned finds that

 the defendant is fully competent, that his guilty plea is knowing and voluntary, and

 that his guilty plea to Count One of the Superceding Indictment, subject to the

 application of the lesser included penalty of 21 U.S.C. § 841(b)(1)(C), is fully

 supported by a written factual basis for each of the essential elements of the offense.
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       Therefore, the undersigned United States Magistrate Judge recommends that

 the District Court ACCEPT the guilty plea of the defendant, Shawn Gordon, in

 accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that Shawn Gordon be finally adjudged guilty of Count One of the

 Superceding Indictment, subject to the application of the lesser included penalty of

 21 U.S.C. § 841(b)(1)(C).

       The defendant waived the fourteen day period within which to file written

 objections to this Report and Recommendation. Accordingly, the District Court may

 immediately adopt this Report and Recommendation, thereby accepting the

 defendant's guilty plea.

       THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the

 23rd day of January, 2017.


                                       ____________________________________
                                       PATRICK J. HANNA
                                       UNITED STATES MAGISTRATE JUDGE




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